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               Exhibit B
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           12   aparkhill@barnowlaw.com

           13   Attorneys for Plaintiffs

           14                                UNITED STATES DISTRICT COURT

           15               NORTHERN DISTRICT OF CALIFORNIA – SAN JOSE DIVISION

           16   SANDEEP KAPIL, GABRIELA GOMEZ, on               Case No.
                behalf of themselves and all others similarly
           17   situated,                                       AFFIDAVIT OF TIMOTHY G. BLOOD
                                                                PURSUANT TO CALIFORNIA CIVIL
           18                  Plaintiffs,                      CODE § 1780(d)

           19          v.
                                                                CLASS ACTION
           20   APPLE, INC.,
                                                                Complaint Filed:     December 20, 2024
           21                  Defendant.                       Trial Date:          Not Set

           22                                                   JURY TRIAL DEMANDED

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00221618                AFFIDAVIT OF TIMOTHY G. BLOOD PURSUANT TO CAL. CIV. CODE § 1780(d)
                 Case 5:24-cv-09304-NW            Document 1-2           Filed 12/20/24   Page 3 of 3



            1          I, TIMOTHY G. BLOOD, declare as follows:

            2          1.      I am an attorney duly licensed to practice before all courts of the State of California.

            3   I am the managing partner of the law firm of Blood, Hurst & O’Reardon, LLP, one of counsel of

            4   record for plaintiff in the above-entitled action.

            5          2.      Defendant Apple Inc. has its principal place of business in, headquarters in, and has

            6   done and is doing business in Santa Clara County. Such business includes the marketing, promoting,

            7   distributing, and selling of the Apps at issue in this lawsuit.

            8          I declare under penalty of perjury under the laws of the State of California that the foregoing

            9   is true and correct. Executed on December 20, 2024, at San Diego, California.
           10

           11                                                                     s/ Timothy G. Blood
                                                                                  TIMOTHY G. BLOOD
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00221618                 AFFIDAVIT OF TIMOTHY G. BLOOD PURSUANT TO CAL. CIV. CODE § 1780(d)
